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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

  UNITED STATES OF AMERICA                  )
                                            )
                v.                          )       No. 2:01 CR 98
                                            )
  TERRAUN PRICE                             )

                                  OPINION AND ORDER

         Defendant Terrauan Price has moved for a sentence reduction under 18 U.S.C.

  § 3582(c)(2), as a result of Amendment 750 to the United States Sentencing Guidelines.

  (DE # 1346.) Mr. Price was found guilty of conspiracy to distribute crack cocaine in

  violation of 21 U.S.C. § 846. At the time of Mr. Price’s original sentencing, his guideline

  offense level was found to be 43, and criminal history category IV, which corresponded

  to a guideline range of life imprisonment. The court sentenced Mr. Price to a life term.

         The original presentence report (“PSR”) used when Mr. Price was sentenced

  concluded that he was “responsible (as it relates to Guideline calculation purposes), for

  conspiring to distribute in excess of 1.5 kilograms of crack cocaine.” (PSR at 12;

  DE # 1247-1 at 12.) At the time of his sentencing, any consideration as to how greatly in

  excess of 1.5 kilograms he bore responsibility was unnecessary, because the sentencing

  guidelines set a quantity of 1.5 kilograms of crack cocaine as the threshold for the

  maximum base offense level of 38. See U.S. SENTENCING GUIDELINES MANUAL

  § 2D1.1(c)(1) (2003). Mr. Price’s adjusted offense level was 43 as the result of increases

  for his supervisory role in the distribution conspiracy and firearms possession.
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         Mr. Price moved for a reduced sentence in 2009 after the United States

  Sentencing Commission promulgated Amendment 706, which, generally speaking,

  lowered the sentencing range for offenses involving crack by two levels. (DE # 1130.) As

  the result of Amendment 706, a quantity of 4.5 kilograms of crack cocaine became the

  threshold for the maximum base offense level. The court denied that motion after

  determining that Mr. Price was responsible for in excess of 4.5 kilograms of crack, and

  therefore, he was not eligible for a sentence reduction. (DE # 1209.) Mr. Price appealed,

  and the United States Court of Appeals for the Seventh Circuit affirmed this court’s

  decision. (DE # 1320); see also United States v. Davis, 682 F.3d 596, 617 (7th Cir. 2012).

         Mr. Price has now moved for a sentence reduction under Amendment 750.1

  (DE # 1346.) Amendment 750 raised the threshold for the maximum base offense level

  of 38 to 8.4 kilograms of cocaine base. U.S. SENTENCING GUIDELINES MANUAL

  § 2D1.1(c)(1) (2011). The court is authorized to reduce a sentence only when a

  defendant’s sentence is “based on a sentencing range that has subsequently been

  lowered by the Sentencing Commission” and the reduction is “consistent with

  applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

  § 3582(c)(2). The relevant policy statement here provides: “A reduction in the

  defendant’s term of imprisonment is not consistent with this policy statement and

  therefore is not authorized under 18 U.S.C. 3582(c)(2) if . . . [a]n amendment listed in


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           The court requested an addendum to the PSR from the United States Probation
  Office. (DE # 1240.) The United States Probation Office concluded that Mr. Price is not
  eligible for a reduction. (DE # 1247.)

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  subsection (c) does not have the effect of lowering the defendant’s applicable guideline

  range.” U.S. SENTENCING GUIDELINES MANUAL § 1B1.10(a)(2)(B) (2012).

         In his current motion, Mr. Price argues that he is entitled to a reduction under

  Amendment 750 because the court’s previous finding, made in its order denying Mr.

  Price’s motion under Amendment 706, that Mr. Price was responsible for in excess of

  4.5 kilograms of crack (DE # 1346 at 5), puts Mr. Price’s base offense level at 36. Under

  the amended guidelines, a defendant responsible for at least 2.8 kilograms of crack

  cocaine, but less than 8.4 kilograms of crack, is assigned a base offense level of 36. U.S.

  SENTENCING GUIDELINES MANUAL § 2D1.1(c)(2) (2012). As the government points out in

  its brief in opposition to Mr. Price’s motion, however, Mr. Price’s argument is based on

  the assumption that Mr. Price was found to be responsible for exactly 4.5 kilograms.

  (DE # 1349). Neither this court (DE # 1209 at 4-5 (“In short, the court has no trouble

  concluding that the evidence of record in this case establishes that it was reasonably

  foreseeable to Mr. Price that distribution of a quantity in excess of 4.5 kilograms of crack

  cocaine occurred, and that he is responsible for that quantity.” (emphasis added))), nor

  the Seventh Circuit, see Davis, 682 F.3d at 617 (“There was ample evidence from which

  the district court could conclude that Price was accountable for at least 4.5 kilograms of

  crack cocaine.” (emphasis added)), concluded that Mr. Price was responsible for exactly

  4.5 kilograms of crack.

         The issue for purposes of determining Mr. Price’s current motion, therefore,

  becomes whether Mr. Price is responsible for 8.4 kilograms or more of crack cocaine.


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  That amount, as noted above, is now the threshold for the maximum base offense level

  of 38. U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(1) (2011). The government

  argues that Mr. Price is responsible for that threshold amount. (DE # 1349 at 2-3.) In his

  motion, Mr. Price does not directly address this issue. (DE # 1346.)

         In its order denying Mr. Price’s motion for a reduced sentence under

  Amendment 706, the court discussed the conspiracy that Mr. Price was a part of and the

  extent of Mr. Price’s involvement in that conspiracy:

         The conspiracy of which Mr. Price was a member, as has accurately been
         pointed out by the Court of Appeals, sold a quantity of drugs which easily
         “eclipsed 16.9 kilograms of crack cocaine.” Hall, 600 F.3d at 876. As noted, at
         his sentencing the court found that the evidence showed that Mr. Price was
         responsible [for] “a great deal more than 1.5 kilograms of crack cocaine base.”
         (Tr. of October 8, 2003, sentencing hearing at 89) (emphasis added). The court
         prefaced that conclusion by observing that it was “reasonably foreseeable . . .
         to this defendant, that there was large quantities and kilo quantities of
         controlled substances, in particular crack cocaine base involved in this drug
         conspiracy.” (Id.) (emphasis added.) Underlying these findings were facts
         such as these, to provide only a few examples. Mr. Price was a member of the
         conspiracy from at least 1996 through 2001, and likely longer than that.
         Moreover, he was not just a street-level member, he was a high-ranking
         member and close associate of Bobby Suggs, the conspiracy’s head, and the
         court found him responsible as a manager or supervisor of the conspiracy. (Id.
         at 91.)

         In that role, he took both supplies of drugs, and messages, from Suggs to
         street-level distributors on “the hill” (Id. at 89, 91), the primary area in which
         the drugs were sold. As explained in the original PSR, according to Marvin
         Childress, one of the defendant co-conspirator/dealers who cooperated in the
         investigation, Suggs did not supply the dealers “hand-to-hand,” Price
         performed this function. Thus, Mr. Price was familiar with the number of
         dealers, and the types and quantities of drugs they were distributing. In
         addition, as part of the inner circle, he used his residence as a place where
         Suggs could “cook” powder cocaine into crack. (Id. at 89.) According to
         statements made by individuals supplying the powder cocaine for cooking,
         such as Thomas Unzueta and Anthony Evans, from at least 1996 they were

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         supplying kilogram quantities to Suggs. In short, the court has no trouble
         concluding that the evidence of record in this case establishes that it was
         reasonably foreseeable to Mr. Price that distribution of a quantity in excess of
         4.5 kilograms of crack cocaine occurred, and that he is responsible for that
         quantity.

  (DE # 1209 at 3-5.)

         The Seventh Circuit also detailed Mr. Price’s extensive involvement in the

  conspiracy:

         The PSR, which the district court adopted, established that [Price] was
         involved in the conspiracy from 1995 to 2001, and during this time he
         participated in a number of roles. For instance, he allowed Bobby to cook
         powder cocaine in his house, he kept Bobby apprised of police presence and
         gang activity, he relayed messages from Bobby to the street-level dealers, and
         he distributed crack cocaine from Bobby to the street-level dealers.
         Additionally, the PSR detailed numerous witness accounts about Price’s
         involvement in the conspiracy and his sales of crack cocaine. While the precise
         quantity of drugs that Price himself distributed may not add up to 4.5
         kilograms of crack cocaine, this fact is not dispositive because defendants
         “convicted of a drug trafficking conspiracy [are] liable for the reasonably
         foreseeable quantity of drugs sold by [their] co-conspirators.” Seymour, 519
         F.3d at 710–11. Here, we have previously concluded that the CCA street gang
         was responsible for distributing at least 16 kilograms of crack cocaine
         throughout the course of the conspiracy’s life. DeWayne Hall, 600 F.3d at 876.
         Price was not a regular street-level dealer in this conspiracy. Rather, he was
         a close confidant of Bobby and acted as a messenger between Bobby and the
         street-level dealers. As noted by the district court, Price’s role allowed him to
         become familiar with the number of dealers and types and quantities of drugs
         they were distributing. There was ample evidence from which the district
         court could conclude that Price was accountable for at least 4.5 kilograms of
         crack cocaine.

  Davis, 682 F.3d at 617.

         The PSR, which the court adopted, also detailed Mr. Price’s extensive involvement

  in this large drug conspiracy. Specifically, the PSR stated:



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         11. Terraun Price was a member of this conspiracy. Price was a close associate
         of Bobby Suggs, and he allowed Suggs to use his house to cook powder
         cocaine. Price also conducted counter surveillance for Suggs and other gang
         members. Price received large quantities of crack cocaine from Suggs on a
         daily basis, and distributed it to street level dealers.

         12. CCA gang members were responsible for distributing multiple kilograms
         of crack cocaine during the conspiracy. Numerous witnesses have stated that
         Price dealt in distribution quantities of crack cocaine for long periods of time.
         Price also sold drugs in large quantities to street level dealers in the gang . . . .

         14. [FBI Agent Brad Bookwalter] described Terraun Price as one of Bobby
         Suggs’ lieutenants in the CCA street gang. Agent Bookwalter said that Price
         was a manager/supervisor in this conspiracy, who received large amounts of
         crack cocaine directly from Bobby Suggs. . . . Price acted as Suggs’ eyes and
         ears on 19th Place, frequently keeping Suggs appraised of police presence and
         gang activity in the area.

         15. Agent Bookwalter advised that Price also received messages directly from
         Bobby Suggs, and relayed these messages to the street level dealers. Price
         directed more than five participants in this conspiracy.

  (PSR at 4-5, DE # 1247-1.)

         In ruling on a Section 3582(c)(2) motion, a court may not rely on new factual findings

  that are inconsistent with the original findings made at sentencing. United States v. Woods,

  581 F.3d 531, 538-39 (7th Cir. 2009). However, “nothing prevents the court from making

  new findings that are supported by the record and not inconsistent with the findings made

  in the original sentencing determination.” United States v. Hall, 600 F.3d 872, 876 (7th Cir.

  2010); see also Davis, 682 F.3d at 618 (“In ruling upon [defendant’s] § 3582(c)(2) motion, it

  was entirely appropriate for the district [court] to make new findings of fact as to the

  quantity of drugs attributable to [defendant], so long as those findings are consistent with

  the findings from the original sentencing hearing.”); United States v. Jackson, 365 F. App’x


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  690, 691 (7th Cir. 2010) (“A district court can make new findings when addressing a motion

  to reduce a sentence when there is ample evidence on the record to support the new

  finding and that finding does not conflict with the district court’s previous conclusion.”).

         As this court (DE # 1209 at 3) and the Seventh Circuit have recognized, the

  conspiracy that Mr. Price was involved in was extremely large, as the “drug quantities

  sold in furtherance of the conspiracy . . . eclipsed 16.9 kilograms of crack cocaine.” Hall,

  600 F.3d at 876; see also Davis, 682 F.3d at 617 (“[W]e have previously concluded that the

  CCA street gang was responsible for distributing at least 16 kilograms of crack cocaine

  throughout the course of the conspiracy’s life.”). Additionally, as discussed above, Mr.

  Price was a major part of this conspiracy, and he was a part of the conspiracy from 1996

  to at least 2001. (DE # 1209 at 4); Davis, 682 F.3d at 617. “[B]ecause defendants

  ‘convicted of a drug trafficking conspiracy [are] liable for the reasonably foreseeable

  quantity of drugs sold by [their] co-conspirators[,]” Davis, 682 F.3d at 617 (quoting

  United States v. Seymour, 519 F.3d 700, 710-11 (7th Cir. 2008), the court concludes, by a

  preponderance of the evidence, that it was reasonably foreseeable to Mr. Price that

  distribution of 16.9 kilograms of crack cocaine occurred, and that he is responsible for

  that amount.2 This finding is not inconsistent with the finding the court made at Mr.

  Price’s original sentencing that Mr. Price was responsible for in excess of 1.5 kilograms




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         This is also the amount the Probation Office concluded that Mr. Price is
  responsible for. (DE # 1247 at 2.)

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  of crack3 (Tr. of October 8, 2003, sentencing hearing at 89) or the court’s determination,

  made when the court denied Mr. Price’s motion under Amendment 706 (DE # 1209 at 4-

  5), that Mr. Price was responsible for in excess of 4.5 kilograms of crack.

         Under the current guidelines, the 16.9 kilograms of crack that Mr. Price is

  responsible for results in a base offense level of 38, and a total offense level of 43

  (including the two-level increase for the weapons violation and the three-level increase

  for Mr. Price’s role in the conspiracy). U.S. SENTENCING GUIDELINES MANUAL

  § 2D1.1(c)(1); see also PSR at 13-14. A total offense level of 43 combined with a criminal

  history of IV results in a guideline range of life in prison. Thus, Mr. Price’s applicable

  guideline range has not changed. His guideline range under Amendment 750 remains,

  as it was under Amendment 706, life in prison. Because Mr. Price’s guideline range has

  not been lowered, he does not qualify for a reduction. United States v. Taylor, 627 F.3d

  674, 676 (7th Cir. 2010). Mr. Price’s motion for a reduced sentence (DE # 1346) is

  therefore DENIED.

                                             SO ORDERED.

         Date: April 8, 2013

                                             s/James T. Moody
                                             JUDGE JAMES T. MOODY
                                             UNITED STATES DISTRICT COURT




         3
         The court, in fact, found that the evidence showed that Mr. Price was
  responsible for “a great deal more than 1.5 kilograms of crack cocaine base.” (Tr. of
  October 8, 2003, sentencing hearing at 89) (emphasis added).
